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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KeyBank National Association,

                        Plaintiff,         Civil Action No. 1:18-cv-03755-RA

                -against-

Franklin Advisers, Inc., et al.,

                        Defendants.


                        DEFENDANTS’ MEMORANDUM OF LAW
                    IN SUPPORT OF MOTION TO TRANSFER VENUE

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                                         Inc.; Franklin Investors Securities Trust –
                                         Franklin Floating Rate Daily Access Fund;
                                         Franklin Floating Rate Master Trust –
                                         Franklin Floating Rate Master Series;
                                         Franklin Templeton Series II Funds – Franklin
                                         Floating Rate II Fund; Kansas Public
                                         Employees Retirement System; Franklin
                                         Floating Rate Master Trust – Franklin Lower
                                         Tier Floating Rate Fund; Franklin Floating
                                         Rate Master Trust – Franklin Middle Tier
                                         Floating Rate Fund; and Franklin Templeton
                                         Series II Funds – Franklin Upper Tier Floating
                                         Rate Fund
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       Defendants 1 move under 28 U.S.C. § 1412 to transfer this action and the related action,

Fifth Third Bank v. Franklin Advisers, Inc., et al., No. 1:18-cv-03762-RA, to the United States

District Court for the District of Delaware, so that they can be referred to the United States

Bankruptcy Court for the District of Delaware, where related bankruptcy proceedings are

ongoing.

                                PRELIMINARY STATEMENT

       Just as these actions belong in federal court rather than state court because of their

inextricable entwinement with the pending bankruptcy cases of Appvion, Inc. (together with

certain of its affiliates, “Appvion” or the “Debtors”), 2 they belong in the District of Delaware

where the Debtors’ bankruptcy cases are pending rather than in this district. As explained below,

these actions easily meet every relevant standard for venue transfer under federal law.

       As explained in the removal petitions, these cases exist only because of Appvion’s

bankruptcy. When Appvion filed for bankruptcy, it required debtor-in-possession financing

(also referred to as “DIP financing”) to continue operating in chapter 11. The parties here were

lenders 3 under Appvion’s original DIP financing agreement that the Delaware bankruptcy court




1
 “Defendants” are Franklin Advisers, Inc.; Franklin Investors Securities Trust – Franklin
Floating Rate Daily Access Fund; Franklin Floating Rate Master Trust – Franklin Floating Rate
Master Series; Franklin Templeton Series II Funds – Franklin Floating Rate II Fund; Kansas
Public Employees Retirement System; Franklin Floating Rate Master Trust – Franklin Lower
Tier Floating Rate Fund; Franklin Floating Rate Master Trust – Franklin Middle Tier Floating
Rate Fund; and Franklin Templeton Series II Funds – Franklin Upper Tier Floating Rate Fund.
2
 See Notice of Removal (KeyBank) [Dkt. No. 1]; Notice of Removal (Fifth Third) [Dkt. No. 1];
see also In re Appvion, Inc., No. 17-12082 (Bankr. D. Del.).
3
 The only parties who were not lenders under Appvion’s original DIP financing agreement are
Franklin Advisers, Inc. and Franklin Templeton Series II Funds – Franklin Upper Tier Floating
Rate Fund.
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approved under Bankruptcy Code section 364. 4 Plaintiffs KeyBank National Association

(“KeyBank”) and Fifth Third Bank (“Fifth Third”) (collectively, “Plaintiffs”) complain that

Defendants breached that original DIP financing agreement by entering into an amended DIP

financing agreement with Appvion that Plaintiffs believe treat their claims less favorably.

Plaintiffs objected to the amended DIP financing on that ground, but the bankruptcy court

approved it over their objections. Unhappy with that result, Plaintiffs filed these suits. These

cases therefore only exist because Appvion filed for bankruptcy, required DIP financing to

continue operating in chapter 11, and Plaintiffs do not like their treatment in Appvion’s

bankruptcy case. Plaintiffs’ meritless breach of contract theories can only be evaluated by the

terms of the DIP financing agreements and the bankruptcy court orders approving them. The

Delaware bankruptcy court is the correct court to undertake that evaluation. This Court should

therefore transfer these cases to the District of Delaware so it can refer them to the Delaware

bankruptcy court, where these actions should have been initiated in the first place.

           Under section 1412, a court may transfer venue of a proceeding to a district in which the

case could have been commenced, if transfer is in the interests of justice or for the convenience

of the parties. These cases unquestionably could have been commenced in the District Court of

Delaware because, as demonstrated in Defendants’ Notices of Removal, they “arise in” a case

under title 11, “arise under” the Bankruptcy Code, and are “related to” a case under title 11. See

28 U.S.C. § 1334(b); Notice of Removal (KeyBank) [Dkt. No. 1]; Notice of Removal (Fifth

Third) [Dkt. No. 1]. Further, transferring venue to the District of Delaware, and ultimately to the

Delaware bankruptcy court, would serve the interests of justice and be more convenient for the

parties.


4
 Bankruptcy Code section 364 provides the mechanism whereby a debtor-in-possession can
obtain post-petition financing. See 11 U.S.C. § 364.


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       First, transferring venue serves the interests of justice by promoting the strong federal

policies of centralizing bankruptcy-related litigation and conserving judicial resources. The

relevant contracts were entered into in Appvion’s bankruptcy pursuant to specific federal statutes

governing DIP financing and involve concepts that only exist in bankruptcy. The Delaware

bankruptcy court already knows the issues raised in these cases, having presided over Appvion’s

bankruptcy case for seven months and overseen several contested hearings where Plaintiffs

raised—and lost—arguments that overlap with their claims. Moreover, resolution of Plaintiffs’

claims will require the interpretation and enforcement of the bankruptcy court orders approving

both agreements at issue; no court is better suited to interpret those orders than the one that

approved them. These factors all show that the Delaware bankruptcy court is best positioned to

resolve these actions efficiently and economically.

       Second, adjudicating these disputes in the Delaware bankruptcy court is more convenient

for the parties. No party is located in New York, and all are actively involved in Appvion’s

bankruptcy proceedings in Delaware. Moreover, Plaintiffs have acknowledged this case belongs

in Delaware: they agreed to a forum selection clause providing that disputes arising out of or

relating to the DIP financing agreements would be litigated in the Delaware bankruptcy court if,

as here, that court has subject matter jurisdiction. The Court should hold Plaintiffs to their

bargain.

       For these reasons, and as explained in detail below, these cases should be transferred to

the Delaware bankruptcy court.




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                                  FACTUAL BACKGROUND 5

       A.      The Appvion Bankruptcy and Original DIP Agreement

       On October 1, 2017, Appvion filed for bankruptcy under chapter 11 of the Bankruptcy

Code in the United States Bankruptcy Court for the District of Delaware. (KeyBank Compl.

¶ 19; Fifth Third Compl. ¶ 19.) When Appvion filed for bankruptcy, it was a party to a $253.3

million first lien loan facility (the “Prepetition Loan Facility”) with KeyBank, Fifth Third, and

the Prepetition Franklin Lenders 6 (who are among the Defendants). (KeyBank Compl. ¶¶ 17–18;

Fifth Third Compl. ¶¶ 17–18.) The Prepetition Franklin Lenders held a majority of the debt

issued under that facility. See Shamah Decl. Ex. A at 54:11–55:4 (Hr’g Tr. Excerpt, In re

Appvion, Inc., No. 17-12082 (Bankr. D. Del. Oct. 3, 2017)).

       At the outset of its bankruptcy proceedings, Appvion sought bankruptcy court approval

of DIP financing (the “Original DIP Agreement”) that would replace the Prepetition Loan

Facility and create a new loan facility consisting of (i) approximately $240 million that would

refinance (i.e., “roll up”) the Prepetition Loan Facility, including the loans held by Plaintiffs and

the Prepetition Franklin Lenders (the “Roll-Up Loans”) 7 and (ii) an additional $85 million in



5
  Facts in this background drawn from the KeyBank and Fifth Third complaints are assumed true
for purposes of this filing only. Exhibits are attached to the Declaration of Daniel S. Shamah in
Support of Defendants’ Motion to Transfer Venue (“Shamah Decl.”).
6
 The “Prepetition Franklin Lenders” are Defendants Franklin Investors Securities Trust –
Franklin Floating Rate Daily Access Fund; Franklin Floating Rate Master Trust – Franklin
Floating Rate Master Series; Franklin Templeton Series II Funds – Franklin Floating Rate II
Fund; Kansas Public Employees Retirement System; Franklin Floating Rate Master Trust –
Franklin Lower Tier Floating Rate Fund; Franklin Floating Rate Master Trust – Franklin Middle
Tier Floating Rate Fund; and Franklin Templeton Series II Funds – Franklin Upper Tier Floating
Rate Fund.
7
  When a debtor-in-possession requires additional postpetition financing from a prepetition
lender, the lender will generally require the debtor-in-possession to enhance the security of the
prepetition debt. One mechanism for doing so is for the lender to provide sufficient postpetition
funds to “pay off the prepetition loan . . . in a ‘full’ or ‘complete’ roll-up, immediately


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new loans to Appvion (the “Original DIP New Money Loans”) that the DIP Franklin Lenders 8

would guarantee to lend (i.e., “backstop”) if no other prepetition lenders participated in the new

loans. (See KeyBank Compl. ¶ 20; Fifth Third Compl. ¶ 20.) All prepetition lenders had an

opportunity to participate in the financing of the Original DIP New Money Loans on a pro rata

basis. They also received a significant benefit even if they elected not to participate in the

additional financing: because their prepetition loans were refinanced with new postpetition

financing, all lenders were protected from a plan of reorganization getting confirmed without

their consent (i.e., “crammed down”). Plaintiffs did not participate in the new money financing.

See Shamah Decl. Ex. B at 13:19–14:6 (Hr’g Tr. Excerpt, In re Appvion, Inc., No. 17-12082

(Bankr. D. Del. Mar. 12, 2018)).

       Following the bankruptcy court’s approval of the Original DIP Agreement in an October

31, 2017 Final Order (“Original DIP Final Order”) (see KeyBank Compl. Ex. A; Fifth Third

Compl. Ex. A), the Prepetition Loan Facility was extinguished, and Appvion became party to a

court-approved DIP financing loan with a principal balance of approximately $325 million. See

generally Shamah Decl. Ex. C (Original DIP Agreement). Per the terms of the Original DIP

Agreement, the Original DIP New Money Loans ranked pari passu with the Roll-Up Loans in

priority of their liens in collateral, but the Original DIP New Money Loans ranked ahead of the

Roll-Up Loans in priority of payment. (KeyBank Compl. ¶¶ 22, 27–28; Fifth Third Compl.

¶¶ 22, 26, 28); see also Shamah Decl. Ex. C § 8.02. That is, even though the Original DIP New

converting all of the lender’s prepetition debt to postpetition debt” (i.e., a “roll-up loan”).
3 Collier on Bankr. ¶ 364.06[2] (16th ed. 2018).
8
 The “DIP Franklin Lenders” are Defendants Franklin Investors Securities Trust – Franklin
Floating Rate Daily Access Fund; Franklin Floating Rate Master Trust – Franklin Floating Rate
Master Series; Franklin Templeton Series II Funds – Franklin Floating Rate II Fund; Kansas
Public Employees Retirement System; Franklin Floating Rate Master Trust – Franklin Lower
Tier Floating Rate Fund; and Franklin Floating Rate Master Trust – Franklin Middle Tier
Floating Rate Fund.


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Money Loans and Roll-Up Loans were equal from a lien security perspective, the parties agreed

that, in the event of a default by the debtor in the bankruptcy and exercise of remedies by a

lender (or if the loans otherwise automatically became immediately due and payable), the

Original DIP New Money Loans were senior to the Roll-Up Loans in payment priority and had

to be repaid in full before the Roll-Up Loans would receive any recovery. (See Shamah Decl.

Ex. C §§ 8.01, 8.02.) As with the Prepetition Loan Facility, the DIP Franklin Lenders held a

majority of the debt outstanding under the Original DIP Agreement. See id. Ex. A at 54:11–55:7.

       B.      Appvion’s Default Under the Original DIP Agreement and Approval of the
               Amended DIP Agreement

       By the end of 2017, Appvion defaulted under the Original DIP Agreement as a result of

various business and economic circumstances not at issue here. See id. Ex. B at 11:12–17. To

preserve Appvion’s viability as a going concern, Appvion and certain Defendants negotiated a

series of transactions whereby (i) the DIP Franklin Lenders would direct the Original DIP

Agreement agent to waive the existing Original DIP Agreement defaults; (ii) the DIP Franklin

Lenders would direct the Original DIP Agreement agent to be a stalking horse bidder in an

auction for substantially all of Appvion’s assets in a bankruptcy court-approved sale under

Bankruptcy Code section 363; and (iii) the DIP Franklin Lenders would guarantee to fund an

additional $15 million in new money loans (again, while providing other lenders an opportunity

to participate in the new loans) to fund Appvion’s ongoing operations through the closing of the

sale. (KeyBank Compl. ¶¶ 39–41; Fifth Third Compl. ¶¶ 40–42.) The proposed stalking horse

bid to acquire Appvion’s assets was structured such that the $85 million of Original DIP New

Money Loans would be assumed by the purchaser, and the $240 million in Roll-Up Loans would

receive equity in the acquired company as part of a credit bid under Bankruptcy Code section

363(k). (KeyBank Compl. ¶ 41; Fifth Third Compl. ¶ 42.)



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       On February 8, 2018, Appvion filed a motion with the bankruptcy court seeking approval

of (i) bidding procedures to govern the marketing and sale of Appvion’s assets and (ii) the

stalking horse bid. (KeyBank Compl. ¶ 41; Fifth Third Compl. ¶ 42.) Plaintiffs objected,

arguing that the proposed stalking horse bid violated the Original DIP Agreement by prioritizing

the Original DIP New Money Loans over the Roll-Up Loans. (KeyBank Compl. ¶ 43; Fifth

Third Compl. ¶ 44.) To address these objections, Defendants proposed that, instead of the

stalking horse purchaser assuming the Original DIP New Money Loans, those loans would be

refinanced into a new $100 million loan facility (the “New DIP Loan”) consisting of the $85

million in Original DIP New Money Loans and the additional $15 million in loans from the DIP

Franklin Lenders. (KeyBank Compl. ¶¶ 45–46; Fifth Third Compl. ¶¶ 46–47.) Under this

proposal, this $100 million in DIP financing loans constituted a new super-senior “priming”

facility that would be secured by a lien senior to the lien securing the Roll-Up Loans, and the

entire New DIP Loan would be assumed by the purchaser under the stalking horse bid.

(KeyBank Compl. ¶ 46; Fifth Third Compl. ¶ 47.) To further address any concerns about unfair

treatment, Plaintiffs were given a second opportunity to participate in the financing, which they

again declined. Shamah Decl. Ex. B at 13:19–14:17. Rather, Plaintiffs objected to this proposal

too, because it would also make the New DIP Loan senior to the Roll-Up Loans, which remain

outstanding and are secured by a separate lien that is junior to the lien securing the New DIP

Loan. See id. Ex. D at 5 (Obj. of KeyBank to Entry of Final Order on Mot. of Debtors for Entry

of Interim and Final Orders, In re Appvion, Inc., No. 17-12082 (Bankr. D. Del. Mar. 21, 2018)

(Dkt. No. 596)); Ex. E at 5 (Obj. of Fifth Third to Entry of Final Order on Mot. of Debtors for

Entry of Interim and Final Orders, In re Appvion, Inc., No. 17-12082 (Bankr. D. Del. Mar. 21,

2018) (Dkt. No. 598)).




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       At hearings on March 12 and March 29, 2018, the bankruptcy court overruled Plaintiffs’

objections and issued orders approving all of the relief Appvion needed to move its bankruptcy

forward: the bidding procedures and the stalking horse bid, the interim and final orders

authorizing the New DIP Loan, and amendments to the Original DIP Agreement that waived the

existing defaults under the Original DIP Agreement and made the New DIP Loan a senior loan

facility (hereinafter, the “Amended DIP Agreement”). See generally id. Ex. F (Final Order (I)

Authorizing Debtors to (A) Obtain Post-Petition Financing Pursuant to 11 U.S.C. §§ 105, 361,

362, 363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) and 364(e), (B) Grant Senior Liens and

Superpriority Administrative Expense Status; (II) Modifying Final Existing DIP Financing

Order; and (III) Granting Related Relief, In re Appvion, Inc., No. 17-12082 (Bankr. D. Del. Mar.

29, 2018) (Dkt. No. 625)). The bankruptcy court also observed that the Franklin DIP Lenders’

actions “actually . . . helps [KeyBank and Fifth Third] in their position” because it avoided an

event of default and the possible liquidation of Appvion. Id. Ex. B at 81:17–82:6. Nonetheless,

in light of Plaintiffs commencing these actions earlier that day, the Delaware bankruptcy court

ordered that these actions would not be prejudiced by the order authorizing the New DIP Loan

and Amended DIP Agreement, provided that “no claim or cause of action in the Litigations shall

constitute a collateral attack on approval of the Senior DIP Facility, the Existing DIP Facility

Documents, the Senior DIP Facility Documents, and the Final Existing DIP Order, all as

amended.” Id. Ex. F at Rider A.

       C.      This Litigation

       In these actions, commenced hours before the start of the March 29 hearing to approve

the New DIP Loan on a final basis, Plaintiffs assert claims for breach of contract, breach of

implied covenant of good faith and fair dealing, and tortious interference with contract related to

the Original DIP Agreement. Specifically, Plaintiffs claim that, by proposing and implementing


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the New DIP Loan—including by waiving, consenting to amend, and amending parts of the

Original DIP Agreement without KeyBank’s and Fifth Third’s consent—Defendants (1)

breached several provisions of the Original DIP Agreement, including provisions on lien

seniority, priming lien facilities, loan repayment, treatment of collateral, and material

modifications of the agreement, (2) breached an implied covenant of good faith and fair dealing

under that agreement, and (3) tortiously interfered with Plaintiffs’ contractual rights under that

agreement. (See KeyBank Compl. ¶¶ 50–51, 71–91; Fifth Third Compl. ¶¶ 51–52, 72–92.)

Plaintiffs claim that they will be harmed as a consequence of the bankruptcy court’s orders and

that Defendants’ actions—even though they were approved by the Delaware bankruptcy court—

constituted a breach of the covenant of good faith and fair dealing, as well as tortious

interference with contract. (See KeyBank Compl. ¶¶ 54, 57, 59, 61, 68; Fifth Third Compl.

¶¶ 55, 58, 60, 62, 69.) They also seek a declaratory judgment that Defendants’ conduct was

prohibited by the Original DIP Agreement, the Roll-Up Loans should be treated the same as the

Original DIP New Money Loans, and the DIP Franklin Lenders must share any payments on the

Original DIP New Money Loans equally with Plaintiffs and other lenders as purportedly required

under the Original DIP Agreement. (KeyBank Compl. ¶¶ 75, 83, 90, 93–100; Fifth Third

Compl. ¶¶ 76, 84, 91, 94–101.)

                                           ARGUMENT

       This Court should transfer these actions to the United States District Court for the District

of Delaware, from which they may be referred to the United States Bankruptcy Court for the

District of Delaware, under 28 U.S.C. § 1412. Section 1412 allows a district court to transfer a




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case to another jurisdiction where the case could have been commenced, if transfer is “in the

interest of justice or for the convenience of the parties.” 28 U.S.C. § 1412. 9

        Under this standard, the Court should transfer these cases. 10 As shown below, venue is

proper in the District of Delaware, as the case could have been commenced there and (1) venue

transfer would promote both the interests of justice and be more convenient for the parties, and

(2) transfer would further federal policy strongly favoring centralizing bankruptcy-related

litigation.

I.      JURISDICTION AND VENUE ARE PROPER IN THE DISTRICT OF
        DELAWARE

        These cases could have been initiated in Delaware because Appvion’s bankruptcy

proceedings are pending there. See 28 U.S.C. § 1409 (“[A] proceeding arising under title 11 or

arising in or related to a case under title 11 may be commenced in the district court in which such

case is pending.”). The Delaware District Court, like this Court, has subject matter jurisdiction

because these actions “arise in” a case under title 11,“arise under” the Bankruptcy Code, and are

“related to” a case under title 11. See 28 U.S.C. § 1334(b) (providing that federal courts have

original jurisdiction “of all civil proceedings arising under title 11, or arising in or related to

cases under title 11”).

        Specifically, federal bankruptcy jurisdiction exists because this proceeding “arises in” the

bankruptcy proceedings—it is a core proceeding concerning a postpetition agreement with a

9
  Section § 1404(a) independently authorizes venue transfer in cases generally. 28 U.S.C.
§ 1404(a). The legal standard for transfer under section 1412 is substantially the same. See Del.
Trust Co. v. Wilmington Trust, N.A., 534 B.R. 500, 519 (S.D.N.Y. 2015) (“In determining
whether to transfer under 28 U.S.C. § 1412, courts consider the same factors as under the general
transfer provision, 28 U.S.C. § 1404(a).”).
10
  This Court would transfer these cases to the District of Delaware. Under the District of
Delaware’s standing order of reference, the cases would automatically be referred to the
Delaware bankruptcy court, where they would be docketed as cases related to Appvion’s
bankruptcy proceedings. See Amended Standing Order of Reference (D. Del. Feb. 29, 2012).


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debtor-in-possession that would not exist but for the bankruptcy proceedings. See, e.g., In re Ben

Cooper, Inc., 896 F.2d 1394, 1400 (2d Cir. 1990) (holding that adjudication of post-petition

contract claims “is an essential part of administering the estate”); In re U.S. Lines, Inc., 197 F.3d

631, 637 (2d Cir. 1999) (“The bankruptcy court has core jurisdiction over claims arising from a

contract formed post-petition under § 157(b)(2)(A).”); Baker v. Simpson, 613 F.3d 346, 351 (2d

Cir. 2010) (finding malpractice claim would not exist but for bankruptcy proceedings). Further,

this proceeding “arises under” the Bankruptcy Code because Plaintiffs purport to enforce

substantive rights conferred upon them by the Bankruptcy Code. See, e.g., In re Housecraft

Indus. USA, Inc., 310 F.3d 64, 70 (2d Cir. 2002) (cases seeking to enforce “substantive rights

created by bankruptcy law “arise under” Bankruptcy Code). And there is little doubt that this

case is “related to” the pending Appvion bankruptcy case, because it will conceivably affect the

pending bankruptcy case by affecting the parties’ recoveries in that case. See In re Quigley Co.,

Inc., 676 F.3d 45, 53 (2d Cir. 2012) (holding that “related to” jurisdiction exists where action

could have any “conceivable effect” on bankruptcy estate). As a result, these cases could have

been commenced in federal court in Delaware. 11

II.     TRANSFER OF THESE ACTIONS TO THE DELAWARE BANKRUPTCY
        COURT IS IN THE INTERESTS OF JUSTICE

        “[T]he interests of justice are furthered when a case is transferred to a venue that would

promote judicial economy.” Del. Trust Co. v. Wilmington Trust, N.A., 534 B.R. 500, 520

(S.D.N.Y. 2015); JPMorgan Chase Bank, N.A. v. Coleman-Toll Ltd. P’ship, 2009 WL 1457158,

at *8 (S.D.N.Y. May 26, 2009). This Court has long held, in evaluating whether the interest of

justice test is satisfied, that “‘[t]he existence of a related action pending in the transferee court


11
  Defendants will address Plaintiffs’ anticipated arguments against subject matter jurisdiction in
greater detail when responding to Plaintiffs’ motions to remand these cases to state court.


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weighs heavily towards transfer.’” Del. Trust, 534 B.R. at 520 (quoting Coleman-Toll Ltd., 2009

WL 1457158 at *8); see also CCM Pathfinder Pompano Bay, LLC v. Compass Fin. Partners

LLC, 396 B.R. 602, 608 (S.D.N.Y. 2008). A transfer in the interest of justice “is particularly

appropriate when the related lawsuit ‘involv[es] the same facts, transactions, or occurrences’” as

the related proceedings because “[l]itigating related actions in the same tribunal fosters efficient

case administration and avoids needless expense.” Del. Trust, 534 B.R. at 520 (quoting

Coleman-Toll Ltd., 2009 WL 1457158, at *8) (first alteration in original); see also Wyndham

Assocs. v. Bintliff, 398 F.2d. 614, 619 (2d Cir. 1968).

       These considerations carry particular force where the related proceeding is a pending

bankruptcy case, because there is “strong bankruptcy code policy” in favor of centralized

litigation in the district where a related bankruptcy case is pending. Del. Trust, 534 B.R. at 521

(citing In re Cuyahoga Equip. Corp., 980 F.2d 110, 117 (2d Cir. 1992)). Transferring this case

to Delaware advances this policy and otherwise promotes judicial economy—thereby furthering

the interests of justice—for two separate reasons.

       First, the Delaware bankruptcy court is already familiar with the facts and issues

presented here. That court has overseen Appvion’s bankruptcy case for over seven months and

has presided over numerous contested hearings where the parties to this case argued issues that

are closely related to this dispute. That court’s investment of time and energy in shepherding the

Appvion bankruptcy proceedings, generally, and addressing many of the facts and issues

presented in this dispute, specifically, is a “precious asset” that should not be squandered. See

Wyndham Assocs., 398 F.2d at 619–20 (finding transferee judge’s experience with facts

underlying case was a “precious asset, increasing in value with the passage of time, and which

will undoubtedly lighten the burden of litigants and courts alike” (internal quotation marks




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omitted)). Using that asset will ensure that these cases are “fairly, efficiently, and effectively

resolved with minimal practical upset to the ongoing bankruptcy proceeding.” See Lothian

Cassidy LLC v. Ransom, 428 B.R. 555, 562 (E.D.N.Y. 2010) (granting transfer to bankruptcy

venue would ensure “supervision by the court most familiar with, and with continuing

administrative responsibility for [the] bankruptcy proceeding”). In addition, Plaintiffs’ claims

arise out of and relate to the Original DIP Agreement and New DIP Loan (governed by the

Amended DIP Agreement) that were approved by the Delaware bankruptcy court under section

364 of the Bankruptcy Code. Their claims mimic the arguments raised in their objections to the

New DIP Loan—i.e., that the New DIP Loan violated the Original DIP Agreement and will

decrease Plaintiffs’ recovery from Appvion’s bankruptcy (to Defendants’ benefit) by changing

the amount and form of any recovery Plaintiffs may receive. Litigating these cases before the

Delaware bankruptcy court, where briefing and argument has already occurred on the terms and

effect of the New DIP Loan (including by Plaintiffs), would be far more efficient and economical

than starting from scratch in this Court or in state court.

       Second, this dispute will undoubtedly require interpretation of the bankruptcy court

orders authorizing the New DIP Loan, a task that should be reserved to the Delaware bankruptcy

court, which authored those orders. That court ordered that these actions were not prejudiced by

its order authorizing the New DIP Loan and Amended DIP Agreement, but also provided that

“no claim or cause of action in the Litigations shall constitute a collateral attack on approval of

the Senior DIP Facility, the Existing DIP Facility Documents, the Senior DIP Facility

Documents, and the Final Existing DIP Order, all as amended.” Shamah Decl. Ex. F at Rider A.

The Delaware bankruptcy court is best positioned to determine whether these actions are an

impermissible collateral attack in violation of its order.




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       These cases closely resemble this Court’s decision in Delaware Trust. That case

involved an inter-lender dispute regarding the allocation of distributions to secured creditors

from a pending bankruptcy case in the Delaware bankruptcy court. Plaintiff there, like KeyBank

and Fifth Third, raised similar arguments in the bankruptcy case as were being advanced in

collateral litigation commenced in New York. See Del. Trust, 534 B.R. 500. This Court

transferred venue to the District of Delaware in the interest of justice, holding that the

connections between the pending bankruptcy case and the issues raised in the litigation “strongly

favor[ed] transferring this matter to the District of Delaware” for referral to the bankruptcy court

because the action was “closely related to the ongoing bankruptcy proceedings” and could be

“promptly adjudicated there by a judge already familiar with the facts, issues, and entities”

involved. Id. at 520–21. The same result should follow here.

III.   LITIGATING THESE CASES IN DELAWARE IS MORE CONVENIENT FOR
       THE PARTIES

       Venue transfer is also warranted because litigating this dispute in the Delaware

bankruptcy court is more convenient for the parties. None of the parties here are incorporated in

or have their principal offices or main headquarters in New York. (See KeyBank Compl. ¶¶ 4–

12; Fifth Third Compl. ¶¶ 4–12.) Plaintiffs transparently chose to file suit in New York State

because they wanted to evade the Delaware bankruptcy court, which has already rejected the

arguments Plaintiffs raised in their objections to the New DIP Loan. See Shamah Decl. Ex. C

§ 11.14(b). 12 This forum is a total stranger to this matter. In contrast, the parties are deeply

involved in the Appvion bankruptcy as creditors and are actively participating in those

12
   Section 11.14(b) provides: “The Borrower and each other loan party irrevocably and
unconditionally submits, for itself and its property, to the exclusive jurisdiction of the bankruptcy
court or, if the bankruptcy court does not have or abstains from jurisdiction, the courts of the
State of New York sitting in New York County and [this Court] . . . , in any action or proceeding
arising out of or relating to this agreement or any other loan document.”


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proceedings. See Lothian Cassidy, 428 B.R. at 562 (“Certainly, the transferee venue is familiar

to many plaintiffs . . . for they are creditors in the . . . bankruptcy proceeding.”). In short, the

parties to this dispute are present and active in Delaware, not New York—reason enough alone

to transfer venue to that court. 13

        In addition, the forum selection clause strongly favors, if not mandates, venue transfer.

In the forum selection clause of the Original DIP Agreement (and the Amended DIP

Agreement), the parties consented to exclusive jurisdiction in the Delaware bankruptcy court, if

that court has jurisdiction and does not abstain, over “any action or proceeding arising out of or

relating to” the Original DIP Agreement. Shamah Decl. Ex. C § 11.14(b). Because the

Delaware bankruptcy court has jurisdiction over these actions (see infra pp. 10–11), “[t]here is a

strong argument that venue must be laid in Delaware under the [Original DIP Agreement’s]

choice of forum clause.” See Winstar Holdings, LLC v. Blackstone Grp., L.P., 2007 WL

4323003, at *1, 6–7 (S.D.N.Y. Dec. 10, 2007) (granting transfer under similar 28 U.S.C.

§§ 1404(a) and/or 1406 analysis where asset purchase agreement contained forum selection

clause stating bankruptcy court would have exclusive jurisdiction to resolve “any dispute arising

out of or related to the” agreement). The forum selection clause thus warrants transfer,

particularly when paired with the strong preference for consolidating related actions in the same

district and the congressional policy favoring centralized bankruptcy proceedings.



13
   While a plaintiff’s choice of forum is a factor to consider in deciding whether to transfer
venue, the Court should afford that choice “diminishing deference” when it is not the plaintiff’s
home forum and the choice is “motivated by tactical advantage.” Renaissance Cosmetics v. Dev.
Specialists Inc., 277 B.R. 5, 18 (S.D.N.Y. 2002) (citing Iragorri v. United Techs. Corp., 274
F.3d 65, 70 (2d Cir. 2001)). Both KeyBank and Fifth Third are based in Ohio, and no defendant
is based in New York. Plaintiffs chose to file suit in a New York forum presumably to gain a
tactical advantage by seeking to litigate this dispute outside the Delaware bankruptcy court’s
purview. The Court should therefore give little weight to Plaintiffs’ choice of New York.


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                                          CONCLUSION

         This is a dispute between lenders about how agreements with a debtor-in-possession, and

the bankruptcy court orders approving those agreements, should be enforced. The resolution of

this dispute will necessarily affect the related bankruptcy proceedings in which the parties are

active participants. There is no question that these cases could and should have been originally

commenced in Delaware bankruptcy court or that it would be more efficient, more convenient

for the parties, and further federal policy of centralizing bankruptcy proceedings if these cases

were litigated in Delaware.

         For these reasons and as explained in greater detail above, Defendants respectfully

request that this Court transfer the present actions to the United States District Court for the

District of Delaware pursuant to 28 U.S.C. § 1412 for referral to the Delaware bankruptcy court.



Dated:    New York, New York                        Respectfully submitted,
          May 14, 2018
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